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5
     Attorney for Defendant
     BRIAN STONE
6

7

8
                              IN THE UNITED STATES DISTRICT COURT
9
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11
     UNITED STATES OF AMERICA,                        )       No. CR-S-16-038 MCE
                                                      )
12
                                                      )
            Plaintiff,                                )       DEFENDANT’S WAIVER OF
13
                                                      )       APPEARANCE
14
     v.                                               )
                                                      )
     BRIAN STONE,                                     )
15
                                                      )       Judge: Honorable Morrison C. England, Jr.
                                                      )
16          Defendant.                                )
                                                      )
17
                                                      )
                                                      )
18

19

20
            Pursuant to Fed.R.Crim.P. 43, defendant, BRIAN STONE, hereby waives the right to be
21
     present in person in open court upon the hearing of any motion or other proceeding in this case,
22
     including, but not limited to, when the case is set for trial, when a continuance is ordered, and
23
     when other action is taken by the Court before or after trial, except upon arraignment, initial
24
     appearance, trial confirmation hearing, entry of plea, and every stage of trial including verdict,
25
     impanelment of jury and imposition of sentence.
26
            Defendant hereby requests the Court to proceed during every absence of his which the
27
     Court may permit pursuant to this waiver and agrees that his interests will be deemed represented
28
     at all times by the presence of his attorney, the same as if the defendant were personally present.


                                                          1
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1    Defendant further agrees to be present in Court ready for trial any day and hour the Court may
2    fix in his absence.
3           The defendant further acknowledges that he has been informed of his rights under Title
4    18 U.S.C §§ 3161-3174 (The Speedy Trial Act) and authorizes his attorney to set times and
5    delays without his personal appearance.
6

7    Dated: December 7, 2016
8

9                                                        /s/ Brian Stone
                                                         BRIAN STONE
10
                                                         (Original retained by attorney)
11

12
            I concur in Brian Stone's decision to waive his presence at future proceedings.
13

14
     Dated: December 7, 2016                             Respectfully submitted,
15

16
                                                         /s/ John R. Manning
17                                                       JOHN R. MANNING
18
                                                         Attorney at Law
                                                         Attorney for Defendant
19                                                       BRIAN STONE
20

21          IT IS SO ORDERED.

22   Dated: March 22, 2017
23

24

25

26

27

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                                                     2
